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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                FT. LAUDERDALE DIVISION


  DOUGLAS FELLER; JEFFRY HEISE;                       CASE NO. ____________
  JOSEPH MULL, individually and on behalf of
  all others similarly situated,

              Plaintiff,                              (JURY TRIAL DEMANDED)

  v.

  ALLIANCE ENTERTAINMENT, LLC; and
  DIRECTTOU, LLC d/b/a Collectors’ Choice
  Music, Critics’ Choice Video, Movies
  Unlimited, DeepDiscount, and WOW HD
              Defendants.

                                  CLASS ACTION COMPLAINT

         Douglas Feller (“Plaintiff Feller”), Jeffry Heise (“Plaintiff Heise”), and Joseph Mull

  (“Plaintiff Mull”) (collectively, “Plaintiffs”), individually and on behalf of all others similarly

  situated, make the following allegations pursuant to the investigation of counsel and based upon

  information and belief, except as to allegations pertaining specifically to themselves or their

  counsel, which are based on personal knowledge.

                                     NATURE OF THE CASE

         1.      Plaintiffs bring this action to redress Defendants’ practices of selling, renting,

  transmitting, and/or otherwise disclosing, to various third parties, records containing the personal

  information (including names and addresses) of each of their customers, along with detailed

  information revealing the titles and subject matter of the videos and other audiovisual materials

  purchased by each customer (collectively “Personal Viewing Information”) in violation of the

  Video Privacy Protection Act, 18 U.S.C. §2701et. seq. (“VPPA”).
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          2.      Defendants violate the VPPA with respect to their disclosure of Plaintiffs’ and

  putative classes’ Personal Viewing Information in two ways.

          3.      First, Defendants disclose their customers’ Personal Viewing Information to

  various third-party recipients, which then append that information to a myriad of other categories

  of personal and demographic data pertaining to those customers. Defendants re-sell that Personal

  Viewing Information (enhanced with the appended demographic information) to other third parties

  on the open market.

          4.      Second, Defendants have systematically transmitted (and continue to transmit

  today) their customers’ personally identifying video viewing information to Meta Platforms, Inc.

  (“Meta”) using a snippet of programming code called the “Meta Pixel,” which Defendants chose

  to install on their websites.

          5.      The information Defendants disclosed (and continues to disclose) to Meta via the

  Meta Pixel it installed on their websites includes the Facebook ID (“FID”) and the title of the

  specific prerecorded video material that each of their customers purchased on their website. An

  FID is a unique sequence of numbers linked to a specific Meta profile. A Meta profile, in turn,

  publicly identifies by name the specific person to whom the profile belongs (and also contains

  other personally identifying information about the person). Entering “Facebook.com/[FID]” into

  a web browser returns the Meta profile of the person to whom the FID corresponds. Thus, the FID

  identifies a person more precisely than a name, as numerous persons may share the same name,

  but each person’s Facebook profile (and associated FID) uniquely identifies one and only one

  person. In the simplest terms, the Meta Pixel installed by Defendants captures and discloses to

  Meta information that reveals the specific videos that a particular person purchased on Defendants’

  websites (hereinafter, “Private Viewing Information”).




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          6.      By these means Defendants disclosed and continue to disclose their customers’

  Private Viewing Information to third parties without asking for, let alone obtaining, their consent

  to these practices.

          7.      The VPPA clearly prohibits what Defendants have done. Subsection (b)(1) of the

  VPPA provides that, absent the consumer’s prior informed, written consent, any “video tape

  service provider who knowingly discloses, to any person, personally identifiable information

  concerning any consumer of such provider shall be liable to the aggrieved person for,” 18 U.S.C.

  § 2710(b)(1), damages in the amount of $2,500.00, see id. § 2710(c).

          8.      Thus, while Defendants profit handsomely from their unauthorized disclosure of

  their customers’ Personal Viewing Information to third parties without providing prior notice to

  or obtaining the requisite consent from any of these customers, they do so at the expense of their

  customers’ privacy and their statutory rights under federal law.

          9.      Defendants’ practice of disclosing their customers’ Personal Viewing Information

  in violation of the VPPA has invaded Plaintiffs’ and the other unnamed Class members’ privacy

  and resulted in a barrage of unwanted junk mail to their home addresses and e-mail inboxes.

  Defendants’ disclosures are also dangerous because they allow for the targeting of particularly

  vulnerable members of society. For example, as a result of Defendants’ disclosures of Personal

  Viewing Information, any person or entity could buy a list with the names and addresses of all

  women residing in Connecticut who have spent more than $75.00 purchasing DVD or Blu-ray

  movies featuring Burt Lancaster from the Defendants during the past 12 months. Such a list is

  available for sale for approximately $158.00 per thousand customers listed.

          10.     In an era when the collection and monetization of consumer data proliferates on an

  unprecedented scale, it’s important that companies are held accountable for the exploitation of




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  their customers’ sensitive information. Defendants chose to disregard Plaintiffs’ and thousands of

  other consumers’ statutorily protected privacy rights by (a) releasing their Private Viewing

  Information into the data-aggregation and brokerage marketplace and (b) directly disseminating

  such information from their websites to Meta via the Meta Pixel. Accordingly, on behalf of

  themselves and the putative Class members defined below, Plaintiffs bring this Class Action

  Complaint against Defendants for intentionally and unlawfully disclosing their Personal Viewing

  Information.

                                             PARTIES

         I.      Plaintiff Feller

         11.     Plaintiff Feller is, and at all times relevant hereto was, a citizen and resident of

  Indianapolis, Indiana.

         12.     Plaintiff Feller is, and at all times relevant hereto was, a user of Meta with a

  Facebook account which was assigned a unique FID.

         13.     On or about February 21, 2024, Plaintiff Feller purchased prerecorded video

  material from Defendants’ online catalog by requesting and paying for such material on

  Defendants’ website Critic’s Choice (located at ccvideo.com), and by providing his name, email

  address, and home address for shipment of such material. Defendants completed their sales of

  goods to Plaintiff Feller by shipping the prerecorded video material he purchased to the address he

  provided in his order. Accordingly, Plaintiff Feller requested or obtained, and is therefore a

  consumer of, prerecorded video material sold by Defendants on their website.

         14.     At all times relevant hereto, including when purchasing prerecorded video material

  from Defendants on their website, Plaintiff Feller had a Meta account, a Meta profile, and an FID

  associated with such profile.




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         15.     When Plaintiff Feller purchased prerecorded video material from Defendants on

  their website, Defendants disclosed to Meta Plaintiff Feller’s FID coupled with the specific title of

  the video or videos he purchased (as well as the URL where such video is available for purchase),

  among other information concerning Plaintiff Feller and the device on which he used to make the

  purchase.

         16.     Prior to and at the time he purchased prerecorded video material from Defendants,

  Defendants did not notify Plaintiff Feller that they would disclose the Personal Viewing

  Information of their customers generally or of Plaintiff Feller in particular, and Plaintiff Feller has

  never consented, agreed, authorized, or otherwise permitted Defendants to disclose his Personal

  Viewing Information to third parties. Plaintiff Feller has never been provided any written notice

  that Defendants sell, rent, license, exchange, or otherwise disclose their customers’ Personal

  Viewing Information, or any means of opting out of such disclosures of his Personal Viewing

  Information.

         17.     Defendants nonetheless sold, rented, transmitted and/or otherwise disclosed, either

  directly or through an intermediary or intermediaries, Plaintiff Feller’s Personal Viewing

  Information – his FID coupled with the specific title of the video he purchased (as well as the URL

  where such video is available for purchase) to Meta and Plaintiff Feller’s name, postal address, e-

  mail address, gender, age, and income, as well as the particular audio-visual product(s) Plaintiff

  Feller purchased from Defendants (i.e., the titles of the prerecorded video material purchased) and

  the amount of money spent by Plaintiff Feller on those purchases – to data miners, data appenders,

  data aggregators, marketing companies, and/or other third parties, including without limitation

  NextMark, during the relevant time period.




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         18.     Plaintiff Feller has never consented, agreed, authorized, or otherwise permitted

  Defendants to disclose his Personal Viewing Information to Meta or any third party. In fact,

  Defendants never even provided Plaintiff Feller with written notice of their practices of disclosing

  their customers’ Personal Viewing Information to Meta or any other third party.

         19.     Because Defendants disclosed Plaintiff Feller’s Personal Viewing Information

  (including his FID, the title of the prerecorded video material he purchased from Defendants’

  website, and the URL where such video is available for purchase) and to Meta and other third

  parties without prior notice or consent during the applicable statutory period, Defendants violated

  Plaintiff Feller’s rights under the VPPA by invading his statutorily conferred interest in keeping

  such information (which bears on his personal affairs and concerns) private.

         II.     Plaintiff Heise

         20.     Plaintiff Heise is, and at all times relevant hereto was, a citizen and resident of

  Coldwater, Michigan.

         21.     Plaintiff Heise is, and at all times relevant hereto was, a user of Meta with a

  Facebook account which was assigned a unique FID.

         22.     On or about April 4, 2023, Plaintiff Heise purchased prerecorded video material

  from Defendants’ online catalog by requesting and paying for such material on Defendants’

  website, Critics’ Choice, and by providing his name, email address, and home address for shipment

  of such material. Defendants completed their sales of goods to Plaintiff Heise by shipping the

  prerecorded video material he purchased to the address he provided in his order. Accordingly,

  Plaintiff Heise requested or obtained, and is therefore a consumer of, prerecorded video material

  sold by Defendants on their website.




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         23.     At all times relevant hereto, including when purchasing prerecorded video material

  from Defendants on their website, Plaintiff Heise had a Meta account, a Meta profile, and an FID

  associated with such profile.

         24.     When Plaintiff Heise purchased prerecorded video material from Defendants on

  their website, Defendants disclosed to Meta Plaintiff Heise’s FID coupled with the specific title of

  the video he purchased (as well as the URL where such video is available for purchase), among

  other information concerning Plaintiff Heise and the device on which he used to make the

  purchase.

         25.     Prior to and at the time he purchased prerecorded video material from Defendants

  via their catalogs, Defendants did not notify Plaintiff Heise that they would disclose the Personal

  Viewing Information of their customers generally or of Plaintiff Heise in particular, and Plaintiff

  Heise has never consented, agreed, authorized, or otherwise permitted Defendants to disclose his

  Personal Viewing Information to third parties. Plaintiff Heise has never been provided any written

  notice that Defendants sell, rent, license, exchange, or otherwise disclose their customers’ Personal

  Viewing Information, or any means of opting out of such disclosures of his Personal Viewing

  Information.

         26.     Defendants nonetheless sold, rented, transmitted and/or otherwise disclosed, either

  directly or through an intermediary or intermediaries, Plaintiff Heise’s Personal Viewing

  Information – his FID coupled with the specific title of the video or videos he purchased (as well

  as the URL where such video is available for purchase) to Meta and Plaintiff Heise’s name, postal

  address, e-mail address, gender, age, and income, as well as the particular audio-visual product(s)

  Plaintiff Heise purchased from Defendants (i.e., the titles of the prerecorded video material

  purchased) and the amount of money spent by Plaintiff Heise on those purchases – to data miners,




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  data appenders, data aggregators, marketing companies, and/or other third parties, including

  without limitation NextMark, during the relevant time period.

          27.     Plaintiff Heise has never consented, agreed, authorized, or otherwise permitted

  Defendants to disclose his Personal Viewing Information to Meta. In fact, Defendants never even

  provided Plaintiff Heise with written notice of their practices of disclosing their customers’

  Personal Viewing Information to Meta or any other third party.

          28.     Because Defendants disclosed Plaintiff Heise’s Personal Viewing Information

  (including his FID, the title of the prerecorded video material he purchased from Defendants’

  website, and the URL where such video is available for purchase) to Meta and other third parties

  without prior notice or consent during the applicable statutory period, Defendants violated Plaintiff

  Heise’s rights under the VPPA by invading his statutorily conferred interest in keeping such

  information (which bears on his personal affairs and concerns) private.

          III.    Plaintiff Mull

          29.     Plaintiff Mull is, and at all times relevant hereto was, a citizen and resident of

  Arenzville, Illinois.

          30.     Plaintiff Mull is, and at all times relevant hereto was, a user of Meta with a

  Facebook account that was assigned a unique FID

          31.     On or about July 11, 2024, Plaintiff Mull purchased prerecorded video material

  from Defendants’ online catalog by requesting and paying for such material on Defendants’

  Movies Unlimited website (located at moviesunlimited.com) and by providing his name, email

  address, and home address for shipment of such material. Defendants completed their sales of

  goods to Plaintiff Mull by shipping the prerecorded video material he purchased to the address he




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  provided in his order. Accordingly, Plaintiff Mull requested or obtained, and is therefore a

  consumer of, prerecorded video material sold by Defendants on their website.

         32.     At all times relevant hereto, including when purchasing prerecorded video material

  from Defendants on their website, Plaintiff Mull had a Meta account, a Meta profile, and an FID

  associated with such profile.

         33.     When Plaintiff Mull purchased prerecorded video material from Defendants on

  their website, Defendants disclosed to Meta Plaintiff Mull’s FID coupled with the specific title of

  the video or videos he purchased (as well as the URL where such video is available for purchase),

  among other information concerning Plaintiff Mull and the device on which he used to make the

  purchase.

         34.     Prior to and at the time he purchased prerecorded video material from Defendants

  via their catalogs, Defendants did not notify Plaintiff Mull that they would disclose the Personal

  Viewing Information of their customers generally or of Plaintiff Mull in particular, and Plaintiff

  Mull has never consented, agreed, authorized, or otherwise permitted Defendants to disclose his

  Personal Viewing Information to third parties. Plaintiff Mull has never been provided any written

  notice that Defendants sell, rent, license, exchange, or otherwise disclose their customers’ Personal

  Viewing Information, or any means of opting out of such disclosures of his Personal Viewing

  Information.

         35.     Defendants nonetheless sold, rented, transmitted and/or otherwise disclosed, either

  directly or through an intermediary or intermediaries,         Plaintiff Mull’s Personal Viewing

  Information – his FID coupled with the specific title of the video he purchased (as well as the URL

  where such video is available for purchase) to Meta and Plaintiff Mull’s name, postal address, e-

  mail address, gender, age, and income, as well as the particular audio-visual product(s) Plaintiff




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  Mull purchased from Defendants (i.e., the titles of the prerecorded video material purchased) and

  the amount of money spent by Plaintiff Mull on those purchases – to data miners, data appenders,

  data aggregators, marketing companies, and/or other third parties, including without limitation

  NextMark, during the relevant time period.

          36.     Plaintiff Mull has never consented, agreed, authorized, or otherwise permitted

  Defendants to disclose his Personal Viewing Information to Meta. In fact, Defendants never even

  provided Plaintiff Mull with written notice of their practices of disclosing their customers’

  Personal Viewing Information or Private Purchase Information to third parties such as Meta and

  other third parties.

          37.     Because Defendants disclosed Plaintiff Mull’s Personal Viewing Information

  (including his FID, the title of the prerecorded video material he purchased from Defendants’

  website, and the URL where such video is available for purchase) to Meta and other third parties

  without prior notice or consent during the applicable statutory period, Defendants violated Plaintiff

  Mull’s rights under the VPPA by invading his statutorily conferred interest in keeping such

  information (which bears on his personal affairs and concerns) private.

          IV.     Defendants

          38.     Defendant Alliance Entertainment, LLC is a Delaware corporation that maintains

  its headquarters in Plantation, Florida. Defendant Alliance Entertainment, LLC is engaged in the

  business of wholesale, retail, and direct-to-consumer distribution and fulfillment of home

  entertainment products, including music, movies, games, and consumer electronics. Defendant

  Alliance Entertainment, LLC describes itself as the largest wholesale distributor of home

  entertainment audio and video software in the United States and operates as a one-stop shop for

  entertainment products and prerecorded video materials for consumers.




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         39.     Defendant DirectToU, LLC is a Delaware corporation that maintains its

  headquarters in Plantation, Florida. Defendant DirectToU, LLC is a subdivision of Alliance

  Entertainment Holding Corporation, an affiliate of Defendant Alliance Entertainment, LLC, and

  operates as a wholesale distribution and retail sales business involving the sale of entertainment

  products, including music, movies, video games, electronics, toys, and other prerecorded video

  materials. Defendant DirectToU, LLC operates the direct-to-consumer brands Collectors’ Choice

  Music, Critics’ Choice Video, Movies Unlimited, DeepDiscount, and WOW HD.

                                   JURISDICTION AND VENUE

         40.     The Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C.

  § 1331 and 18 U.S.C. § 2710.

         41.      Personal jurisdiction and venue are proper because Defendants maintain their

  headquarters and principal places of business in Plantation, Florida, within this judicial District.

                              VIDEO PRIVACY PROTECTION ACT

         42.     Generally speaking, the VPPA prohibits companies (like Defendant) from

  knowingly disclosing to third parties (like Meta) information that personally identifies consumers

  (like Plaintiffs) as having viewed particular videos or other audio-visual materials.

         43.     Specifically, subject to certain exceptions that do not apply here, the VPPA

  prohibits “a video tape service provider” from “knowingly disclos[ing], to any person, personally

  identifiable information concerning any consumer of such provider[.]” 18 U.S.C. § 2710(b)(1).

  The statute defines a “video tape service provider” as “any person, engaged in the business…of

  rental, sale, or delivery of prerecorded video cassette tapes or similar audio visual materials,” 18

  U.S.C. § 2710(a)(4), and defines a “consumer” as “a renter, purchaser, or subscriber of goods or

  services from a video tape service provider.” 18 U.S.C. § 2710(a)(1). “‘[P]ersonally identifiable




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  information’ includes information which identifies a person as having requested or obtained

  specific video materials or services from a video tape service provider.” 18 U.S.C. § 2710(a)(3).

          44.     Leading up to the VPPA’s enactment in 1988, members of the United States Senate

   warned that “[e]very day Americans are forced to provide to businesses and others personal

   information without having any control over where that information goes.” Id. Senators at the

   time were particularly troubled by disclosures of records that reveal consumers’ purchases and

   rentals of videos and other audiovisual materials because such records offer “a window into our

   loves, likes, and dislikes,” such that “the trail of information generated by every transaction that

   is now recorded and stored in sophisticated record-keeping systems is a new, more subtle and

   pervasive form of surveillance.” S. Rep. No. 100-599 at 7-8 (1988) (statements of Sens. Simon

   and Leahy, respectively).

          45.     Thus, in proposing the Video and Library Privacy Protection Act (which later

  became the VPPA), Senator Patrick J. Leahy (the senior Senator from Vermont from 1975 to 2023)

  sought to codify, as a matter of law, that “our right to privacy protects the choice of movies that

  we watch with our family in our own homes.” 134 Cong. Rec. S5399 (May 10, 1988). As Senator

  Leahy explained at the time, the personal nature of such information, and the need to protect it

  from disclosure, is the raison d’être of the statute: “These activities are at the core of any definition

  of personhood. They reveal our likes and dislikes, our interests and our whims. They say a great

  deal about our dreams and ambitions, our fears and our hopes. They reflect our individuality, and

  they describe us as people.” Id.

          46.     While these statements rang true in 1988 when the act was passed, the importance

  of legislation like the VPPA in the modern era of data mining is more pronounced than ever before.

  During a recent Senate Judiciary Committee meeting, “The Video Privacy Protection Act:




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  Protecting Viewer Privacy in the 21st Century,” Senator Leahy emphasized the point by stating:

  “While it is true that technology has changed over the years, we must stay faithful to our

  fundamental right to privacy and freedom. Today, social networking, video streaming, the ‘cloud,’

  mobile apps and other new technologies have revolutionized the availability of Americans’

  information.”1

           47.      Former Senator Al Franken may have said it best: “If someone wants to share what

  they watch, I want them to be able to do so . . . But I want to make sure that consumers have the

  right to easily control who finds out what they watch—and who doesn’t. The Video Privacy

  Protection Act guarantees them that right.”2

           48.      In this case, however, Defendants deprived Plaintiffs and numerous other similarly

  situated persons of that right by systematically (and surreptitiously) disclosing their Personal

  Viewing Information to Meta and other third parties, without providing notice to (let alone

  obtaining consent from) any of them, as explained in detail below.

                                        BACKGROUND FACTS

      I.         Consumers’ Personal Information Has Real Market Value

           49.      In 2001, Federal Trade Commission (“FTC”) Commissioner Orson Swindle

  remarked that “the digital revolution . . . has given an enormous capacity to the acts of collecting




  1       The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st Century, Senate
  Judiciary Committee Subcommittee on Privacy, Technology and the Law, http://www.judiciary.
  senate.gov/meetings/the-video-privacy-protection-act-protecting-viewer-privacy-in-the-
  21stcentury.
  2
          Chairman Franken Holds Hearing on Updated Video Privacy Law for 21st Century,
  frank.senate.gov (Jan. 31, 2012).




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  and transmitting and flowing of information, unlike anything we’ve ever seen in our lifetimes . . .

  [and] individuals are concerned about being defined by the existing data on themselves.” 3

         50.     More than a decade later, Commissioner Swindle’s comments ring truer than ever,

  as consumer data feeds an information marketplace that supports a $26 billion dollar per year

  online advertising industry in the United States. 4

         51.     The FTC has also recognized that consumer data possesses inherent monetary value

  within the new information marketplace and publicly stated that:

                 Most consumers cannot begin to comprehend the types and amount
                 of information collected by businesses, or why their information
                 may be commercially valuable. Data is currency. The larger the data
                 set, the greater potential for analysis – and profit.5

         52.     In fact, an entire industry exists while companies known as data aggregators

  purchase, trade, and collect massive databases of information about consumers. Data aggregators

  then profit by selling this “extraordinarily intrusive” information in an open and largely

  unregulated market.6

         53.     The scope of data aggregators’ knowledge about consumers is immense: “If you

  are an American adult, the odds are that [they] know[] things like your age, race, sex, weight,




  3       FCC, The Information Marketplace (Mar. 13, 2001), at 8-11, available at
  https://www.ftc.gov/sites/default/files/documents/public_events/information-marketplace-
  merging-and-exchanging-consumer-data/transcript.pdf.
  4       See Web’s Hot New Commodity: Privacy, Wall Street Journal (Feb. 28, 2011),
  http://online.wsj.com/article/SB10001424052748703529004576160764037920274.html.
  5       Statement of FTC Cmr. Harbour (Dec. 7, 2009), at 2, available at
  https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-exploring-
  privacy-roundtable/091207privacyroundtable.pdf.
  6
          See M. White, Big Data Knows What You’re Doing Right Now, TIME.com (July 31, 2012),
  http://moneyland.time.com/2012/07/31/big-data-knows-what-youre-doing-right-now/.




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  height, marital status, education level, politics, buying habits, household health worries, vacation

  dreams—and on and on.”7

         54.     Further, “[a]s use of the Internet has grown, the data broker industry has already

  evolved to take advantage of the increasingly specific pieces of information about consumers that

  are now available.”8

         55.     Recognizing the severe threat the data mining industry poses to consumers’

  privacy, on July 25, 2012, the co-chairmen of the Congressional Bi-Partisan Privacy Caucus sent

  a letter to nine major data brokerage companies seeking information on how those companies

  collect, store, and sell their massive collections of consumer data, stating in pertinent part:

                 By combining data from numerous offline and online sources, data
                 brokers have developed hidden dossiers on every U.S. consumer.
                 This large[-]scale aggregation of the personal information of
                 hundreds of millions of American citizens raises a number of serious
                 privacy concerns.9

         56.     Data aggregation is especially troublesome when consumer information is sold to

  direct-mail advertisers. In addition to causing waste and inconvenience, direct-mail advertisers

  often use consumer information to lure unsuspecting consumers into various scams,10 including


  7      N. Singer, You for Sale: Mapping, and Sharing, the Consumer Genome, N.Y. Times (June
  16, 2012), available at http://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant-
  of- consumer-database-marketing.html.
  8       Letter from Sen. J. Rockefeller IV, Sen. Cmtee. on Commerce, Science, and
  Transportation, to S. Howe, Chief Executive Officer, Acxiom (Oct. 9, 2012) available at
  http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-4157-a97b-
  a658c3c3061c.
  9       See Bipartisan Group of Lawmakers Query Data Brokers About Practices Involving
  Consumers’ Personal Information, Website of Sen. Markey (July 24, 2012),
  http://www.markey.senate.gov/news/press-releases/bipartisan-group-of-lawmakers-query-data-
  brokers-about-practices-involving-consumers-personal-information.
  10
          See Prize Scams, Federal Trade Commission, http://www.consumer.ftc.gov/articles/0199-
  prize-scams (last visited July 30, 2021).




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  fraudulent sweepstakes, charities, and buying clubs. Thus, when companies like Defendants share

  information with data aggregators, data cooperatives, and direct-mail advertisers, they contribute

  to the “[v]ast databases” of consumer data that are often “sold to thieves by large publicly traded

  companies,” which “put[s] almost anyone within the reach of fraudulent telemarketers” and other

  criminals.11

         57.     Disclosures like Defendants’ are particularly dangerous to the elderly. “Older

  Americans are perfect telemarketing customers, analysts say, because they are often at home, rely

  on delivery services, and are lonely for the companionship that telephone callers provide.” 12 The

  FTC notes that “[t]she elderly often are the deliberate targets of fraudulent telemarketers who take

  advantage of the fact that many older people have cash reserves or other assets to spend on

  seemingly attractive offers.”13

         58.     Indeed, an entire black market exists while the personal information of vulnerable

  elderly Americans is exchanged. Thus, information disclosures like Defendants’ are particularly

  troublesome because of their cascading nature: “Once marked as receptive to [a specific] type of

  spam, a consumer is often bombarded with similar fraudulent offers from a host of scam artists.” 14




  11     See Charles Duhigg, Bilking the Elderly, with a Corporate Assist, N.Y. Times, May 20,
  2007, available at http://www.nytimes.com/2007/05/20/business/20tele.html (last visited July 30,
  2021).
  12     Id.
  13      Fraud Against Seniors: Hearing before the Senate Special Committee on Aging (August
  10,      2000)      (prepared        statement     of      the      FTC),      available      at
  https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-statement-federal-
  trade-commission-fraud-against-seniors/agingtestimony.pdf.
  14     Id.



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             59.     Defendants is not alone in violating their customers’ statutory rights and

  jeopardizing their well-being in exchange for increased revenue: disclosing customer and

  subscriber information to data aggregators, data appenders, data cooperatives, direct marketers,

  and other third parties has become a widespread practice. Unfortunately for consumers, however,

  this growth has come at the expense of their most basic privacy rights.

       II.         Consumers Place Monetary Value on Their Privacy and Consider Privacy
                   Practices When Making Purchases

             60.     As the data aggregation industry has grown, so has consumer concerns regarding

  personal information.

             61.     A recent survey conducted by Harris Interactive on behalf of TRUSTe, Inc. showed

  that 89 percent of consumers polled avoid doing business with companies who they believe do not

  protect their privacy online. 15 As a result, 81 percent of smartphone users polled said that they

  avoid using smartphone apps that they don’t believe protect their privacy online. 16

             62.     Thus, as consumer privacy concerns grow, consumers increasingly incorporate

  privacy concerns and values into their purchasing decisions, and companies viewed as having

  weaker privacy protections are forced to offer greater value elsewhere (through better quality

  and/or lower prices) than their privacy-protective competitors.




  15       See 2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe,
  http://www.theagitator.net/wp-content/uploads/012714_ConsumerConfidenceReport_US1.pdf
  (last visited May 13, 2019).
  16         Id.




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              63.      In fact, consumers’ personal information has become such a valuable commodity

  that companies are beginning to offer individuals the opportunity to sell their personal information

  themselves.17

              64.      These companies’ business models capitalize on a fundamental tenet underlying

  the personal information marketplace: consumers recognize the economic value of their private

  data. Research shows that consumers are willing to pay a premium to purchase services from

  companies that adhere to more stringent policies of protecting their personal data. 18

              65.      Thus, in today’s digital economy, individuals and businesses alike place a real,

  quantifiable value on consumer data and corresponding privacy rights. 19 As such, where a business

  offers customers a product or service that includes statutorily guaranteed privacy protections, yet

  fails to honor these guarantees, the customer receives a product or service of less value than the

  product or service paid for.

       III.         Defendants Unlawfully Sells, Rents, Transmits, And Otherwise Discloses Their
                    Customers’ Personal Viewing Information

              66.      Defendants maintains a vast digital database comprised of their customers’

  Personal Viewing Information, including the names and addresses of each customer and




  17     See Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their Personal Data,
  N.Y. Times (Feb. 12, 2012), available at http://www.nytimes.com/2012/02/13/technology/start-
  ups-aim-to-help-users-put-a-price-on-their-personal-data.html (last visited May 13, 2019).
  18     See Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy Information on
  Purchasing Behavior, 22(2) Information Systems Research 254, 254 (2011); see also European
  Network and Information Security Agency, Study on monetising privacy (Feb. 27, 2012), available
  at      https://www.enisa.europa.eu/activities/identity-and-trust/library/deliverables/monetising-
  privacy (last visited May 13, 2019).
  19       See Hann, et al., The Value of Online Information Privacy: An Empirical Investigation
  (Oct.                 2003)             at              2,               available           at
  http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&type=pdf (last
  visited May 13, 2019) (“It is obvious that people value online privacy.”).



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  information reflecting the titles of all video and other audio-visual products that each of their

  customers have purchased.

         67.     During the time period relevant to this action, Defendants has monetized this

  database by renting, selling, or otherwise disclosing their customers’ Personal Viewing

  Information to data aggregators, data miners, data brokers, data appenders, and other third parties.

         68.     These factual allegations are corroborated by publicly available evidence. For

  instance, as shown in the screenshot below, the Personal Viewing Information of 384,538

  American consumers who purchased Defendants’ video products is offered for sale on the website

  of NextMark, Inc. (“NextMark”) – one of many traffickers of this type of Personal Viewing

  Information – at a base price of “$105.00/M [per thousand records]” (10.5 cents each):




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  See Exhibit A hereto.

         69.     The “ALLIANCE ENTERTAINMENT MUSIC & DVD MASTERFILE” list

  offered for sale by NextMark, shown in the screenshot above, contains Personal Viewing

  Information for each of the 384,538 American consumers whose information appears on the list,

  including each person’s name, postal address, e-mail address, gender, age, and income, as well as

  the particular audio-visual product(s) they purchased from Defendants (i.e., the titles of the DVD

  and Blu-ray videos purchased) and the amount of money they spent on those purchases.

         70.     As a result of Defendants’ data compiling and sharing practices, companies have

  obtained and continue to obtain the Personal Viewing Information of Defendants’ customers,

  together with additional sensitive personal information that has been appended thereto by data

  appenders and others.

         71.     Plaintiffs are informed and believe, and thereupon allege, that numerous of the third

  parties to whom Defendants has transmitted and/or otherwise disclosed their customers’ Personal

  Viewing Information, either directly or indirectly through an intermediary or intermediaries, have

  in turn sold, rented, transmitted, or otherwise disclosed that Personal Viewing Information

  (together with other sensitive personal demographic and lifestyle information appended thereto by

  data appenders and other entities) to other third parties, including other data brokers, data miners,

  data appenders, and marketing companies.

         72.     Defendants’ disclosures of Personal Viewing Information have put their customers

  at risk of serious harm from scammers. For example, as a result of Defendants’ disclosures of

  Personal Viewing Information, any person or entity could obtain a list with the names and

  addresses of all women residing in Connecticut who have spent more than $75.00 purchasing DVD




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  or Blu-ray movies featuring Burt Lancaster from the Defendants during the past 12 months. Such

  a list is available for sale for approximately $158.00 per thousand customers listed.

           73.      Defendants did not seek Plaintiffs and other their customers’ prior written consent

  to the disclosure of their Personal Viewing Information (in writing or otherwise) and their

  customers remain unaware that their Personal Viewing Information and other sensitive data is

  being sold, rented and exchanged on the open market.

     IV.         Defendant Knowingly Uses the Meta Pixel to Transmit the Private Viewing
                 Information of its Customers to Meta

           74.      Separately from, and in addition to, transmitting Plaintiffs and the Class members’

  Private Viewing Information to data brokers and data appenders, Defendants violated the VPPA

  by transmitting Plaintiffs’ and the class members’ Private Viewing Information to Meta.

           75.      Defendants sell a wide variety of prerecorded video materials, including movies

  and television shows on DVD and Blu-Ray, to consumers on their network of websites, which

  include websites belonging to the following brands: Collectors’ Choice Music (ccmusic.com),

  Critics’ Choice Video (ccvideo.com), Movies Unlimited (moviesunlimited.com), DeepDiscount

  (deepdiscount.com), and WOW HD (wowhd.co.uk).

           76.      To make a purchase of prerecorded video material from Defendants’ websites, a

  person must provide at least his or her name, email address, billing address, and credit or debit

  card (or other form of payment) information.

           77.      Whenever a person with a Meta account purchases prerecorded video material from

  Defendants on their websites, Defendants use – and have used at all times relevant hereto – the

  Meta Pixel to disclose to Meta the unencrypted FID of the person who made the purchase and the

  specific title of video material that the person purchased (as well as the URL where such video

  material is available for purchase).




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         78.     In order to take advantage of the targeted advertising and other informational and

  analytical services offered by Meta, Defendants intentionally programmed its websites (by

  following step-by-step instructions from Meta’s website) to include the Meta Pixel code, which

  systematically transmits to Meta the FID of each person with a Meta account who purchases

  prerecorded video material on one of Defendants’ websites, along with the specific title of the

  prerecorded video material that the person purchased.

         79.     With only a person’s FID and the title of the prerecorded video material (or URL

  where such material is available for purchase) that the person purchased from Defendants on on

  of their websites—all of which Defendants knowingly and systematically provide to Meta—any

  ordinary person could learn the identity of the person to whom the FID corresponds and the title

  of the specific prerecorded video material that the person purchased (and thus requested and

  obtained). This can be accomplished simply by accessing the URL www.facebook.com/ and

  inserting the person’s FID.

         80.     Defendants’ practices of disclosing the Private Viewing Information of its

  customers to Meta continued unabated for the duration of the two-year period preceding the filing

  of this action. At all times relevant hereto, whenever one of the Plaintiffs or any other person

  purchased prerecorded video material from Defendants on their websites, Defendants disclosed to

  Meta (inter alia) the specific title of the video material that was purchased (including the URL

  where such material is available for purchase), along with the FID of the person who purchased it

  (which, as discussed above, uniquely identified the person).

         81.     At all times relevant hereto, Defendants knew that the Meta Pixel was disclosing

  its customers’ Private Viewing Information to Meta.

         82.     Although Defendants could easily have programmed its website so that none of its




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  customers’ Private Viewing Information is disclosed to Meta, Defendants instead chose to

  program its website so that all of its customers’ Private Viewing Information is disclosed to Meta.

         83.     Before transmitting its customers’ Private Viewing Information to Meta, Defendant

  failed to notify any of them that it would do so, and none of them have ever consented (in writing

  or otherwise) to these practices.

         84.     By intentionally disclosing to Meta each of the Plaintiffs’ and its other customers’

  FIDs together with the specific video material that they each purchased, without any of their

  consent to these practices, Defendant knowingly violated the VPPA on an enormous scale.

                                 CLASS ACTION ALLEGATIONS

         85.     Plaintiffs bring this action pursuant to Federal Rules of Civil Procedure 23(a),

  (b)(2), and (b)(3) on behalf of themselves and seek to represent two classes of similarly situated

  persons (the “Classes”), defined as follows:

                          (a) The Data Brokerage Class: All persons in the
                          United States who, during the two years preceding the filing
                          of this action, purchased prerecorded video material from
                          Defendants and had their Private Viewing Information
                          disclosed to a third-party by Defendant.

                          (b) The Meta Pixel Class: All persons in the United
                          States who, during the two years preceding the filing of this
                          action purchased prerecorded video material from
                          Defendants’ website while maintaining an account with
                          Meta Platforms, Inc. f/k/a Facebook, Inc.

         86.     Excluded from the Classes are any entity in which Defendants have a controlling

  interest, and officers or directors of Defendants.

           87.   Class members are so numerous that their individual joinder herein is

   impracticable. On information and belief, members of the Class number in at least the tens of

   thousands. The precise number of Class members and their identities are unknown to Plaintiffs




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   at this time but may be determined through discovery. Class members may be notified of the

   pendency of this action by mail and/or publication through the membership records of Defendant.

          88.    Common questions of law and fact exist for all Class members and predominate

   over questions affecting only individual class members. Common legal and factual questions

   include but are not limited to (a) whether Defendants knowingly disclosed Plaintiffs’ and Class

   members’ Private Viewing Information to a third party; (b) whether the Defendants embedded

   Meta Pixel on their websites that monitors and tracks actions taken by visitors to their websites;

   (c) whether the Defendants report the actions and information of visitors to Meta; and (d) whether

   Defendant knowingly disclosed Plaintiffs’ and Class members’ Private Viewing Information to

   Meta; (e) whether Defendants’ conduct violates the Video Privacy Protection Act, 18 U.S.C. §

   2710; (f) whether each of the Plaintiffs and Class members is entitled to a statutory damage award

   of $2,500, as provided by the VPPA.

          89.    The named Plaintiffs’ claims are typical of the claims of the Classes in that the

   named Plaintiffs and the Class members suffered invasions of their statutorily protected right to

   privacy (as afforded by the VPPA), as well as intrusions upon their private affairs and concerns

   that would be highly offensive to a reasonable person, as a result of Defendants’ uniform and

   wrongful conduct in intentionally disclosing their Private Purchase Information to third parties.

          90.    Plaintiffs are adequate representatives of the Classes because their interests do not

   conflict with those of the Class members they seek to represent; they have retained competent

   counsel experienced in prosecuting class actions and intend to prosecute this action vigorously.

   Plaintiffs and their counsel will fairly and adequately protect the interests of all Class members.

          91.    The class mechanism is superior to other available means for the fair and efficient

   adjudication of Class members' claims. Each individual member of the Classes may lack the




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   resources to undergo the burden and expense of individual prosecution of the complex and

   extensive litigation necessary to establish Defendants’ liability. Individualized litigation

   increases the delay and expense to all parties and multiplies the burden on the judicial system

   presented by this case's complex legal and factual issues. Individualized litigation also presents

   a potential for inconsistent or contradictory judgments. In contrast, the class action device

   presents far fewer management difficulties and provides the benefit of single adjudication,

   economy of scale, and comprehensive supervision by a single court on the issue of Defendants’

   liability. Class treatment of the liability issues will ensure that all claims and claimants are before

   this Court for consistent adjudication of the liability issues.

                                        CLAIMS FOR RELIEF

                   COUNT I: VIOLATION OF THE VPPA (18 U.S.C. § 2710)

         92.      Plaintiffs repeat the allegations asserted in the preceding paragraphs as if fully set

  forth herein.

         93.      The VPPA prohibits each Defendant, a “video tape service provider,” from

  knowingly disclosing “personally identifying information” concerning any “consumer” to a third

  party without the “informed, written consent (including through an electronic means using the

  Internet) of the consumer.” 18 U.S.C. § 2710.

           94.    As defined in 18 U.S.C. § 2710(a)(4), a “video tape service provider” is “any

   person, engaged in the business, in or affecting interstate or foreign commerce, of rental, sale, or

   delivery of prerecorded video cassette tapes or similar audiovisual materials[.]” Defendants are

   “video tape service providers” as defined in 18 U.S.C. § 2710(a)(4) because they engaged in the

   business of selling and delivering prerecorded video materials, similar to prerecorded video

   cassette tapes, to consumers nationwide.




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             95.   As defined in 18 U.S.C. § 2710(a)(1), a “‘consumer’ means any renter, purchaser,

  or consumer of goods or services from a video tape service provider.” As alleged above, Plaintiffs

  and Class members are each a “consumer” within the meaning of the VPPA because they each

  purchased prerecorded video material from Defendants’ websites that was sold and delivered to

  them by Defendants.

             96.   As defined in 18 U.S.C. § 2710(a)(3), “‘personally identifiable information’

  includes information which identifies a person as having requested or obtained specific video

  materials or services from a video tape service provider.” The Private Viewing Information that

  Defendants transmitted to third parties, including Meta, constitutes “personally identifiable

  information” as defined in 18 U.S.C. § 2710(a)(3) because it identified each of the Plaintiffs and

  Class members as an individual who purchased, and thus “requested or obtained,” specific

  prerecorded video material from Defendants via their websites.

             97.   Defendants knowingly disclosed Plaintiffs’ and the members of the Data Brokerage

  Class’s Private Viewing Information to data aggregators, data brokers, data appenders, and the like

  because Defendants knowingly rented, sold, or otherwise disclosed their customers’ Personal

  Viewing Information to data aggregators, data miners, data brokers, data appenders, and other third

  parties.

             98.   Further, Defendants knowingly disclosed Plaintiffs’ the members of the Meta Pixel

  Class’s Private Viewing Information to Meta via the Meta Pixel technology because Defendants

  intentionally installed and programmed the Meta Pixel code on its website, knowing that such code

  would transmit to Meta the titles of the video materials purchased by its customers coupled with

  its customers’ unique identifiers (including FIDs).

             99.   Defendants failed to obtain informed written consent from any of the Plaintiffs or




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  Class members authorizing them to disclose their Private Viewing Information to Meta or any

  other third party. More specifically, at no time prior to or during the applicable statutory period

  did Defendants obtain from any person who purchased prerecorded video material on its website

  (including any of the Plaintiffs or members of the classes) informed, written consent that was given

  in a form distinct and separate from any form setting forth other legal or financial obligations of

  the consumer, that was given at the time the disclosure is sought or was given in advance for a set

  period of time, not to exceed two years or until consent is withdrawn by the consumer, whichever

  is sooner, or that was given after Defendants provided an opportunity, in a clear and conspicuous

  manner, for the consumer to withdraw consent on a case-by-case basis or to withdraw consent

  from ongoing disclosures, at the consumer’s election. See 18 U.S.C. § 2710(b)(2).

          100. By disclosing Plaintiffs’ and Class members’ Private Viewing Information,

   Defendants violated their statutorily protected right to privacy in their Private Viewing

   Information.

          101. Consequently, Defendants are liable to each of the Plaintiffs and the members of

   the Classes for damages in the statutorily set sum of $2,500. See 18 U.S.C. § 2710(c)(2)(A).

                                      PRAYER FOR RELIEF


         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, seek

     a judgment against Defendants Alliance Entertainment, LLC and DirectToU, LLC. as follows:

                  A.      For an order certifying the Class under Rule 23 of the Federal Rules
                          of Civil Procedure and naming Plaintiffs as representatives of the
                          Class and Plaintiffs’ attorneys as Class Counsel to represent the Class;

                  B.      For an order declaring that Defendant’s conduct as described herein
                          violated the VPPA;

                  C.      For an order finding in favor of Plaintiffs and the Class and against
                          Defendant on all counts asserted herein;




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                   D.         For an award of $2,500.00 to the Plaintiffs and each Class member,
                              as provided by the VPPA, 18 U.S.C. § 2710(c);

                   E.         For an order permanently enjoining Defendant from disclosing the
                              Private Viewing Information of its subscribers to third parties in
                              violation of the VPPA.

                   F.         For prejudgment interest on all amounts awarded; and

                   G.         For an order awarding punitive damages, reasonable attorneys’ fees,
                              and costs to counsel for Plaintiffs and the Class under Rule 23 and 18
                              U.S.C. § 2710(c).
                                      DEMAND FOR JURY TRIAL

          Plaintiffs, on behalf of themselves and the Class Members, hereby demand a trial by jury

  on all claims so triable.



  Dated: August 8, 2024                            Respectfully submitted,

                                                   By: /s/ Frank S. Hedin


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